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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                             Plaintiff,

           v.                                              Case No. 19-CR-227

JOSEPH BONGIOVANNI,
PETER GERACE, JR.,

                             Defendants.




                MR. GERACE'S REPLY TO THE GOVERNMENT'S
                  OPPOSITION TO HIS OBJECTION TO THE
                    MAGISTRATE/JUDGE'S DENIAL OF HIS
                     MOTION FOR A FRANKS HEARING




                                           Respectfully submitted,



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                                   PRELIMINARY STATEMENT


               On September 30, 2021 the parties appeared before Magistrate/Judge Michael J.

Roemer for argument on the defense omnibus motions.

               The Magistrate/Judge made it clear that he wished to hear argument only with

regard to defense motions for evidentiary hearings. He stated that he would hear oral argument on

other motions at a later date. All of the parties agreed to this staggered scheduling order.

               After hearing defense counsel and the prosecution with regard to the defense

motion for an evidentiary hearing under Franks v. Delaware, 438 U.S. 154, 98 S.Ct. 2674 (1978),

regarding the redacted search warrant application provided to the defense, the Magistrate/Judge

denied the motion for a hearing. This occurred on the record on September 30, 2021. Prosecution

counsel was present throughout the proceedings.

               The defense filed a timely objection on October 13, 2021 [Doc. 203]. Judge Sinatra

set a scheduling order directing the prosecution to file its response on October 27, 2021 [Doc. 204].

The defense was afforded until November 3, 2021 to submit its reply to the prosecution response

[Id.].

               This reply memorandum addresses only those issues to which the defense deems a

written response is appropriate.


                                          DISCUSSION


               In an argument entirely detached from reality, the prosecution claims that the

objections should be denied because the defense has failed to docket the transcript of the

September 30, 2021 proceeding.           The prosecution response clearly acknowledges the
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Magistrate/Judge's ruling and its needless insistence upon the filing of redundant paperwork is

ridiculous [Doc. 207, p. 1].

               The prosecution response goes to great lengths to address issues which are not set

forth in the defense objection. The Magistrate/Judge clearly indicated that he would hear oral

argument from the defense based upon an analysis of the redacted application itself at a later date.

In a text order dated August 6, 2021 the Magistrate/Judge found that additional arguments

advanced by the defense "may be addressed by the Court through a review of the four corners of

the warrant application and without an evidentiary hearing" [Doc. 174]. Consistent with the

Magistrate/Judge's ruling, the defense reserves any and all suppression arguments directed against

the face of the redacted search warrant application.

               As stated above, the defense objection was limited only to the Magistrate/Judge's

denial of a Franks hearing. Contrary to the claim of the prosecution, the defense objection

specifically cited governing case law. That included the United States Supreme Court expansion

of the Franks standard to include a grossly negligent disregard of Fourth Amendment rights and

also a constitutional violation that is the product of recurring or systematic negligence. See, Davis

v. United States, 564 U.S. 229, 236-240, 131 S.Ct. 2419 (2011). Consequently, those older

decisions cited by the prosecution with regard to the pleading predicates needed to trigger a Franks

hearing are no longer applicable [Doc. 207, pp. 4-5, 9-10, 15-16].

               The prosecution concedes, as clearly it must, that the "staleness" of allegations in a

warrant application must be considered in determining whether the redacted application provides

probable cause [Doc. 207, p. 5].

               The defense reiterates its reliance upon the staleness chart which was appended to

Mr. Gerace's original objection [Doc. 203, Ex. A].


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               The redacted search warrant application failed to attach a copy of the second

superseding indictment. The defense submits that this defect in and of itself warrants a Franks

hearing.

               The critical omission of the second superseding indictment establishes that

Magistrate/Judge Schroeder was never informed that the grand jury had found that the alleged

criminal conduct had terminated. Furthermore, Magistrate/Judge Schroeder was never informed

of the time lapse from the termination of the alleged criminal conduct and the date of the search

warrant application.

               For all Magistrate/Judge Schroeder knew, the purported criminal conduct could

have continued to the date on which the second superseding indictment was returned.

               In addition, the critically omitted material undermined Magistrate/Judge Schroeder

to insist upon live testimony under oath. See, Federal Rule 41(d) of the Federal Rules of Criminal

Procedure.

               Inexplicably, the Magistrate/Judge refused to apply governing Second Circuit law

to the effect that recklessness can be inferred from the omission of critical information. See, United

States v. Reilly, 76 F.3d 1271, 1280 (2d Cir. 1996).

               As stated in Mr. Gerace's original objection, the Reilly court has noted,

                       "[t]he good faith exception to the exclusionary rule does not
                       protect searches by officers who fail to provide all
                       potentially adverse information to the issuing judge, and for
                       that reason, it does not apply here." Reilly, 76 F.3d at 1280.




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                                  CONCLUSION


          Mr. Gerace's objection should be adopted by this Court.


DATED:    November 2, 2021                    Respectfully submitted,
          Buffalo, New York


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                               CERTIFICATE OF SERVICE


                I hereby certify that on November 2, 2021 I electronically filed the preceding
document with the Clerk of the District Court using the CM/ECF system, which sent notification
of such filing to the following:

                                   Joseph M. Tripi, Esq.
                                Brendan T. Cullinane, Esq.
                             Assistant United States Attorneys

                                      Defense Counsel

              I further hereby certify that I have mailed by United States Postal Service said
document to the following non-CM/ECF participants:

                                            None



                                                   /s/ Sandra Lee Wright
                                                   SANDRA LEE WRIGHT
